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                   IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS


United States of America,

                       Plaintiff,
vs.                                                          Case No. 03-20013-04-JWL

Sherie Johnson,

                       Defendant.


                            MEMORANDUM AND ORDER

       This matter comes before the court on defendant’s pro se motion, filed March 5,

2008, for retroactive application of the amended sentencing guidelines in order to reduce

her term of imprisonment as provided by 18 U.S.C. § 3582(c). (Doc. 306.) Pursuant to

the court’s order (Doc. 307), Plaintiff United States filed its response on April 5 (Doc.

308) and defendant’s reply deadline was May 5. To date the defendant has not filed a

reply. Because there is no statutory basis for a reduction in sentence, for reasons stated

below, defendant’s motion is denied.

       Defendant Johnson was tried before a jury and convicted on October 3, 2003, of

one count of conspiracy to possess with intent to distribute 50 grams or more of cocaine

base (“crack cocaine”), one count of distribution of 50 grams or more of cocaine base,

and one count of opening or maintaining a residence for the purpose of distributing

cocaine base. Pursuant to 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(iii), the defendant’s statutory

minimum sentence, regardless of guideline recommendations, may not have been less

than ten (10) years. Defendant was then sentenced on December 29, 2003, to the
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statutory minimum term of 120 months imprisonment for each count, to run concurrently;

judgment was entered on December 30, 2003.

        The federal sentencing guidelines were amended effective November 1, 2007 to

lower the base offense level for cocaine base (“crack” cocaine) offenses. See Sentencing

Guidelines for U.S. Courts, 72 Fed. Reg. 28,558, 28,571-72 (May 21, 2007). These

amendments were retroactively applied as of March 3, 2008. See Sentencing Guidelines

for U.S. Courts, 73 Fed. Reg. 217, 217 (Jan. 2, 2008). Although the defendant points to

these amendments as the basis for requesting a reduction in her sentence of

imprisonment, these guideline amendments are not effective as such in this case.

        Once the sentencing guidelines are amended in such a manner as to adjust a

previously imposed sentencing range downward, the court may reduce a defendant’s

sentence if the “reduction is consistent with [the] applicable polic[ies]” of the Sentencing

Commission. 18 U.S.C. § 3582(c)(2)(2002). According to the Sentencing Guidelines,

the policy statement of the Commission is that a reduction “is not authorized under 18

U.S.C. § 3582(c)(2) if . . . (B) an amendment listed in subsection (c) does not have the

effect of lowering the defendant’s applicable guideline range.” U.S. Sentencing

Guidelines Manual § 1 B1.10(a)(2)(B)(2008). Application note one to U.S.S.G. § 1B1.10

states that “a reduction in the defendant's term of imprisonment is not authorized under

18 U.S.C. 3582(c)(2) and is not consistent with this policy statement if . . . the

amendment does not have the effect of lowering the defendant's applicable guideline

range because of the operation of another guideline or statutory provision (e.g., a

statutory mandatory minimum term of imprisonment).” U.S.S.G. § 1B1.10 cmt. n.

1(A)(ii).
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          In this case, the defendant’s sentence would not be lowered by the guideline

amendments, as the sentence imposed by the court was pursuant to a required 120 month

statutory minimum. See 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(iii). The Tenth Circuit, as

well as other courts, has consistently held that “the Sentencing Commission does not

have the authority to override a statute.” U.S. v. Smartt, 129 F.3d 539, 542 (10th Cir.

1997) (quoting U.S. v. Novey, 78 F.3d 1483, 1486 (10th Cir. 1996)); see also U.S. v.

Dimeo, 28 F.3d 240, 241 (1st Cir. 1994) (stating that 18 U.S.C. § 3582(c)(2) “confers no

power on the district court to reduce a minimum sentence mandated by statute”); U.S. v.

Hanlin, 48 F.3d 121, 124-25 (3d Cir. 1995) (ten-year mandatory minimum sentence

“takes precedence over any lesser Guidelines' sentencing range”); U.S. v. Johnson, 517

F.3d 1020, 1024 (8th Cir. 2008) (holding that resentencing according to guideline

amendments is not warranted when the court sentenced the defendant to a statutory

minimum). Because the defendant was sentenced pursuant to a statutory minimum, and

the statute overrides the sentencing guidelines, the defendant is not entitled to relief under

the retroactively applied amendments to the sentencing guidelines. See Johnson, 517

F.3d at 1024; Smartt, 129 F.3d at 542.

          For these reasons, the defendant’s pro se motion for a reduction of her sentence is

denied.

          IT IS SO ORDERED.



Signed this 14th day of May, 2008.


                                                s/ John W. Lungstrum
                                                JUDGE JOHN W. LUNGSTRUM
                                                UNITED STATES DISTRICT JUDGE
